Case 2:23-cv-00576-JRG-RSP Document 26-12 Filed 01/29/24 Page 1 of 4 PageID #: 1111




                               Exhibit 3
Sony Corporation of America Businesses – Operating Companies
                  Case 2:23-cv-00576-JRG-RSP Document 26-12 Filed 01/29/24 Page 2 of 4 PageID #: 1112




                                                                                   Who We Are


              Overview                     Electronics                  Film & Television                Music                Games                  Other Businesses




                                                      Sony Corporation            of America
                                                             Sony Corporation of America



                                                      Sony Corporation of America, located in New York, NY, is the U.S. headquarters of Sony Group Corporation, based in Tokyo, Japan. Sony's principal U.S.

                                                      businesses include Sony Electronics Inc., Sony Interactive Entertainment LLC, Sony Music Entertainment, Sony Music Publishing LLC and Sony Pictures

                                                      Entertainment Inc. With some 900 million Sony devices in hands and homes worldwide today, a vast array of Sony movies, television shows and music, and
                                                      the PlayStation Network, Sony creates and delivers more entertainment experiences to more people than anyone else on earth. To learn more:

                                                      www.sony.com/en.



                                                               PRESS RELEASES SOCIAL CAREERS CONTACT




                                                                                      Electronics


                                                         SonySony
                                                              Electronics
                                                                  Electronics



                                                         Headquartered in San Diego, Sony Electronics is a leading provider of audio/video electronics and information technology products for the consumer

                                                         and professional markets. Operations include research and development, engineering, sales, marketing, distribution, and customer service.



                                                                WEBSITE PRESS RELEASES SOCIAL CAREERS CONTACT




                                                                                 Film & Television


                                                         Sony Pictures        Entertainment
                                                                Sony Pictures Entertainment



                                                         Sony Pictures Entertainment’s global operations encompass motion picture production, acquisition and distribution; television production, acquisition and

                                                         distribution; television networks; digital content creation and distribution; operation of studio facilities; and development of new entertainment products,
                                                         services and technologies.



                                                                WEBSITE PRESS RELEASES SOCIAL CAREERS CONTACT




                                                                                           Music


                                                         Sony Music
                                                               Sony MusicEntertainment
                                                                         Entertainment



                                                         Sony Music Entertainment is a global recorded music company with a roster featuring a broad array of both local artists and international superstars




https://www.sony.com/content/sony/en/en_us/SCA/who-we-are/overview.html#music[1/28/2024 11:42:57 PM]
Sony Corporation of America Businesses – Operating Companies
                  Case 2:23-cv-00576-JRG-RSP Document 26-12 Filed 01/29/24 Page 3 of 4 PageID #: 1113

                                                        from label groups that include Columbia, RCA, Epic, Sony Music Nashville and Sony Classical.



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                                                        Sony Music       Publishing
                                                             Sony Music Publishing



                                                        Sony Music Publishing is the leading global music publisher, which is home to world-class songwriters, legendary catalogues, and industry-leading

                                                        synchronization licensing and production music businesses. With an international network of 38 offices, Sony Music Publishing represents many of the

                                                        most iconic songs ever written by celebrated songwriters such as The Beatles, Bob Dylan, Aretha Franklin, Marvin Gaye, Michael Jackson, Carole King,

                                                        Queen and The Rolling Stones, as well as contemporary superstars including Beyoncé, Ed Sheeran, Pharrell Williams, Drake, Lady Gaga, Kanye West,

                                                        P!nk, and Sam Smith.



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                                                                                          Games


                                                        Sony Interactive
                                                                  Sony InteractiveEntertainment
                                                                                  Entertainment LLC LLC

                                                        Sony Interactive Entertainment LLC is responsible for keeping PlayStation® growing and thriving in the United States, Canada and Latin America. The

                                                        San Mateo, California, office serves as headquarters for all North American operations.



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                                                                                 Other Businesses


                                                        SonySonyRewards
                                                                 Rewards



                                                        The Sony Rewards loyalty program enables consumers to earn Sony Rewards points for doing things they love to do, like going to the movies,
                                                        purchasing Sony products and playing video games. Points can then be redeemed for Sony electronic products, entertainment, once-in-a-lifetime

                                                        experiences and more. Consumers can also use the Sony Card and PlayStation®Card, both from Capital One®, to earn Sony Rewards points on

                                                        everyday purchases, and earn additional 5x points on Sony & PlayStation purchases.



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                                                        Sony
                                                           Sony DADC
                                                                DADC



                                                        Sony DADC is a leading disc and digital solution provider for the entertainment, education and information industries, offering world-class optical media

                                                        replication services, digital and physical supply chain solutions and software services.



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                                                        Sony Biotechnology
                                                              Sony Biotechnology Inc. Inc.



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Sony Corporation of America Businesses – Operating Companies
                  Case 2:23-cv-00576-JRG-RSP Document 26-12 Filed 01/29/24 Page 4 of 4 PageID #: 1114
                                                        Since its inception in 1995, Sony Biotechnology has provided quality products and innovative solutions to the global flow cytometry market.



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